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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY                JUN 3 0 2004
                                     AT LONDON
                           CIVIL ACTION NO. 6:04-CV-15-KKC

    MICHAEL H. WEISSER                                                        PLAINTIFF


               WAL-MART’S MEMORANDUM IN SUPPORT OF MOTION
    V.           FOR SUMMARY JUDGMENT AND RESPONSE TO
                 WEISSER’S MOTION FOR SUMMARY JUDGMENT



    CP HAZARD ASSOCIATES, LTD                                            DEFENDANTS
    PARTNERSHIP; and WAL-MART
    REAL ESTATE BUSINESS TRUST


           Defendant Wal-Mart Real Estate Business Trust (“Wal-Mart”), through counsel,

    and pursuant to Fed. R. Civ. P. 56, respecthlly submits this Memorandum in Support of

    its Motion for Summary Judgment and in Response to the Motion for Summary

    Judgment of Plaintiff Michael H. Weisser (“Weisser”).
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    I.      INTRODUCTION

            Weisser claims that he is entitled to purchase property from Defendant CP Hazard

    Associates, Ltd Partnership (“CP Hazard”) pursuant to a contract of sale with CP Hazard.

    However, Weisser’s contract with CP Hazard is unenforceable for two reasons. First,

    Wal-Mart was given a right of first refusal in its lease of this property from CP Hazard;

    since Wal-Mart properly exercised this right, any right that Weisser had under his

    contract to purchase the property was terminated. Second, Weisser defaulted on his

    obligations under his contract with CP Hazard, and, therefore, he has no binding contract

    to enforce. For these reasons, summary judgment should be granted in favor of Wal-

    Mart.

    11.     STATEMENT OF THE CASE

            This case concerns an approximately twenty-two (22) acre parcel of land located

    in Perry County, Kentucky, near the City of Hazard (the “Property”). CP Hazard

    purchased the Property in the fall of 2002, and then leased it to Wal-Mart on November

    27,2002. [Attached hereto as Exhibit A is the Lease Agreement between CP Hazard and

    Wal-Mart (“Lease”).] Section 32.N. of the Lease granted to Wal-Mart a right of first

    refusal if CP Hazard ever decided to sell the Property. It states as follows:

                   In the event Lessor enters into an agreement to sell [the
                   Property] to an unrelated third party (said agreement is
                   hereafter referred to as the “Sales Agreement”), it shall give
                   Lessee a Right-of-First-Refusal to purchase [the Property],
                   on the same terms and conditions provided in the Sales
                   Agreement. Lessee shall have twenty (20) days after
                   receipt of a copy of such agreement to exercise such right,
                   which Lessee shall do by executing and delivering to
                   Lessor an agreement containing the same business terms
                   and conditions as the Sales Agreement. If Lessee shall not
                   deliver such executed agreement to Lessor within such
                   twenty (20) day period, then Lessee shall be deemed to



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                   have failed to exercise such right with respect to the Sales
                   Agreement.

           Sometime in early 2003, Miles Cullom, the principal of CP Hazard, contacted

    Robert Talbott, a real estate developer and broker, to gain his assistance in selling the

    Property. [Miles Cullom Depo., pp. 12, 22.1 In the fall of 2003, Mr. Talbott told Mr.

    Cullom that he had located a potential buyer for the Property, Michael H. Weisser.

    [Cullom Depo., p. 16.1 On October 2, 2003, Weisser sent Cullom a letter of intent to

    purchase the Property, which Cullom then signed on October 7, 2003. [See “Letter of

    Intent” attached hereto as Exhibit B.]

           The Letter of Intent gave Weisser a “Review Period” until October 30, 2003,

    whereby he could inspect and perform whatever due diligence he deemed necessary with

    regard to the Property. [See Exhibit B, Sections 3 & 5.1 Section 4 of the Letter of Intent

    also stated that CP Hazard would provide several documents, reports and information for

    Weisser to review during the Review Period. On October 8,2003, CP Hazard complied

    with Section 4 of the Letter by sending Weisser copies of a survey, title policy, standard

    form agreement, payment and performance bond, utility letter, zoning letter, the Wal-

    Mart Lease Agreement, and an environmental report. [See October 8, 2003 cover letter

    from Danielle Hicks to Weisser, attached hereto as Exhibit C.]

           On October 24, 2003, Weisser executed an Agreement of Purchase and Sale to

    purchase the Property, which was later executed by Cullom on behalf of CP Hazard on

    October28, 2003. [See the “Weisser Agreement” attached hereto as Exhibit D.] Section

    12.02 of the Weisser Agreement recognizes Wal-Mart’s right of first refusal, providing as

    follows:

                   12.02 RIGHT OF FIRST REFUSAL: Wal-Mart has a
                   right of first refusal to purchase the Property as specified

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                   and outlined in the Wal-Mart Lease. Any obligation of the
                   Seller and Buyer hereunder is contingent upon Wal-Mart
                   not exercising such right. If Wal-Mart does exercise such
                   right, this Agreement shall be of no force and effect.
                   (Emphasis in original.)

    The Weisser Agreement M e r provides in Section 2.00.A. that “[oln or before

    November 5 , 2003, a $500,000 Letter of Credit         ... shall be   delivered to Seller....”

    However, Weisser defaulted on his contractual obligation to timely provide CP Hazard

    with his letter of credit. Weisser did not deliver a letter of credit to CP Hazard until

    November 25,2003, twenty (20) days after the deadline. [See “Letter of Credit” attached

    hereto as Exhibit E.]

           Pursuant to its right of first refusal as set forth in the Lease, Wal-Mart had twenty

    (20) days from receipt of the Weisser Agreement to execute and deliver to CP Hazard a

    purchase agreement of its own for the Property. On or about November 11,2003, Wal-

    Mart executed and delivered to CP Hazard a Purchase Agreement for the Property (the

    “Wal-Mart Agreement”) with the same price and other material terms as are contained in

    the Weisser Agreement. [The Wal-Mart Agreement is attached hereto as Exhibit F.]

    Wal-Mart therefore properly exercised its right of first refusal according to the right as set

    forth in the Lease.

           Weisser was notified by a December 2,2003 letter from attorney John B. Waters

    111, counsel for CP Hazard, that since Weisser had failed to timely provide a letter of

    credit pursuant to his contract, and since Wal-Mart had properly exercised its right of first

    refusal, Weisser’s Agreement with CP Hazard was “of no force and effect.” [The

    December 2, 2003 letter is attached hereto as Exhibit G.] Nevertheless, on January 15,

    2004, Weisser filed this action against Wal-Mart and CP Hazard. In his Amended

    Complaint, Weisser seeks a declaration regarding the rights and duties of the parties, and

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    seeks specific performance of his purchase agreement with CP Hazard.                    In his

    Memorandum in Support of Motion for S u m m a r y Judgment, Weisser states for the first

    time that he also seeks recovery of “the difference between the now-increased interest

    rate compared with that [sic] he could have received at the time of the intended closing

    but for Wal-Mart’s invalid exercise of its option.”’ However, since Wal-Mart properly

    exercised its right of first refusal, and since Weisser defaulted under the terms of his own

    agreement, Wal-Mart is entitled to s u m m a r y judgment on all of Weisser’s claims.

    111.   ARGUMENT

                                 Summary Judgment Standard.
           Fed. R. Civ. P. 56(c) authorizes s u m m a r y judgment if the “pleadings, depositions,

    answers to interrogatories, stipulations, and admissions on file, together with the

    affidavits, if any, show there is no genuine issue as to any material fact and that the

    moving party is entitled to a judgment as a matter of law.” There is no dispute about any

    material fact in this case. The case turns entirely on whether Wal-Mart’s exercise of its

    right of first refusal is deemed proper, and whether the Weisser Agreement is enforceable

    in light of Weisser’s default under such agreement.

           A.      Wal-Mart Properly Exercised Its Right of First Refusal.
           A contract giving a right of first refusal means that the holder has the right to take

    property at the same price, and on substantially the same terms, as those offered by a

    third party for the property. See Brownies Creek Collieries, Inc. v. Asher Coal Mining

    Co., Ky., 417 S.W.2d 249,251-52 (1967) (citations omitted). The right of first refusal is



    * Weisser made no such claim in his Amended Complaint.


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    an enforceable contractual provision under Kentucky law.           See Id. at 251 (1967)

    (citations omitted).

           Weisser claims that Wal-Mart did not properly exercise its right of first refusal.

    More specifically, Weisser argues that the Wal-Mart Agreement has terms and conditions

    that are not identical to the provisions in the Weisser Agreement. The controlling law on

    this issue is addressed in Kentucky case law. In Brownies Creek, supra, the court stated:

                   A contract provision giving simply the “right of first
                   rehsal” (as here), without any qualifylng terms, means
                   according to general custom and practice that the holder
                   has the right to elect to take the property at the same price
                   and on the same terms and conditions as those of an offer
                   by a third person that the owner is willing to accept.
                   Corbin on Contracts, Vol. lA, section 261, pp. 470, 477,
                   478. (Footnote omitted.) The agreement is not void for
                   failure to specify definite terms and conditions of the
                   acquisition, because they will be supplied by the third
                   person’s offer. However, this presupposes that the holder
                   of the right of first refusal can and will take the property on
                   the same terms and conditions as set out in the third
                   person’s offer. Of course if the holder of the right of first
                   refusal cannot meet exactly the terms and conditions of the
                   third person’s offer, minor variations which obviously
                   constitute no substantial dmarture should be allowed. And
                   defeat of the right of refusal should not be allowed by use
                   of special, peculiar terms or conditions not made in good
                   faith. But if a material variation from bona fide terms and
                   conditions should be necessary the right of rehsal will fail
                   as impossible of performance.
    417 S.W.2d at 252 (emphasis added).

           It is clear under Kentucky law that in order to properly exercise a right of first

    refusal, the holder of such right is     required to execute an agreement with the exact

    same terms and conditions as contained in the third party’s offer. Rather, variations from

    the third party’s terms and conditions will not forfeit the holder’s proper exercise of the

    right so long as the variations are not “material” and do not constitute a “substantial



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    departure” from the third party’s “bona fide” terms. See Brownies Creek, supra, 417

    S.W.2d at 252.

           In this case, Wal-Mart exercised its right of first refusal by executing and

    delivering to CP Hazard a purchase agreement within twenty (20) days of Wal-Mart’s

    receipt of a copy of the Weisser Agreement. This was a proper exercise of the right of

    first refusal since the Wal-Mart Agreement does not contain any material variations from

    the bona fide terms and conditions in the Weisser Agreement.

           In paragraphs 17 and 18 of his Amended Complaint, and in his Memorandum in

    Support of Motion for Summary Judgment, Weisser notes four variations between the

    Wal-Mart and Weisser Agreements, which he labels as “major differences” between the

    two contracts.2 However, since the four variations that Weisser points to in the Wal-Mart

    Agreement are not “material” and do not constitute a “substantial departure” fiom “bona

    fide” terms in the Weisser Agreement, they do not defeat Wal-Mart’s proper exercise of

    its right of first refusal. See Brownies Creek, supra, 417 S.W.2d at 252. Importantly, all

    of Weisser’s arguments relate to contingencies in the Wal-Mart Agreement. As will be

    discussed below, mere contingencies - which do not affect price - are not material.

                                           Inwection Period

           First, Weisser argues that the Wal-Mart Agreement sets forth an inspection period

    during which Wal-Mart may withdraw at any time, and that the Weisser Agreement

    provides for no such inspection period.         (Amended Complaint, fi 17.A;      Weisser

    Memorandum in Support of Motion for Summary Judgment, p.3.)              On the contrary,


      Given that the contracts are rather lengthy and contain literally hundreds of provisions,
    the fact that Weisser can cite to only four alleged “differences” speaks volumes.



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    Sections 3.00.D. and 3.01 of the Weisser Agreement & provide for an opportunity to

    survey and examine title.3 Further, a provision for due diligence does not render an

    exercise of the right of first refusal improper. See, e.g., Beavers Service, Inc. v. Norris,

    470 A.2d 312,314 (D.C. Ct. App. 1983) (holding that the agreements of the rightholder

    and third party were “identical in all material aspects” even though the rightholder’s

    agreement had a provision allowing it “30 days in which to make an economic feasibility

    study and permitting its withdrawal if the study yielded unsatisfactory results”). Finally,

    to the extent Weisser is attempting to argue that his agreement provides that the purchase

    price must be tendered without an inspection or due diligence period (which is not true

    given the “Review Period” he obtained through the Letter of Intent), it would be glaringly

    peculiar through its omission of a standard real estate provision. The omission of a bona

    fide term cannot be used to defeat a right of first refusal. See Brownies Creek, supra. In

    his deposition, Weisser conceded that the purchase agreement he tendered to Wal-Mart

    was unusual and not his standard form agreement. [Michael Weisser Depo., p. 59.1

    Weisser produced his standard form agreement in the course of discovery and,

    importantly, it provides for an inspection period in Section 10.01. [See “Weisser’s

    Standard Form” attached hereto as Exhibit H). Pursuant to Brownies Creek, supra, a

    “defeat of the right of first refusal should not be allowed by use of suecial, ueculiar terms

    or conditions not made in good faith” and only bona fide terms and conditions are to be

    considered in determining whether a material variation exists. 417 S.W.2d at 252

    (emphasis added).

     As set forth in Section B below, Weisser also had a “Review Period” which gave him
    approximately 30 days to inspect the property and to withdraw at any time pursuant to his
    Letter of Intent with CP Hazard.



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                                           Forfeiture of Deposit

            Second, Weisser claims that the Wal-Mart Agreement allows for Wal-Mart to

     keep the $500,000 deposit in the event of default, while the Weisser Agreement provides

     that CP Hazard is entitled to keep the $500,000 down payment if a default occurs.

     (Amended Complaint,      7   17.B;   Weisser Memorandum in Support of Motion for

     Summary Judgment, p.3.) Weisser’s argument is simply wrong and Wal-Mart is at a loss

     to explain how Weisser reaches such a conclusion. Nowhere in the Wal-Mart Agreement

     does is state that Wal-Mart gets to keep its deposit in the event of default. To the

     contrary, it states that Wal-Mart is relieved of any further obligation in the event of

     default. In other words, the Wal-Mart Agreement provides that Wal-Mart does not have

     to go forward with purchasing the property in the event of a default. It does not say that

     Wal-Mart is entitled to a refund of a previously-Daid deposit. Since the Wal-Mart

     Agreement provides that the deposit was to be paid UD front and to an escrow agent, Wal-

     Mart is not entitled to a refund in the event of default. Weisser’s argument to the

     contrary is completely misplaced.

            Even if Weisser’s assertions were true (which they are not), a forfeiture provision

     pertaining to a deposit is merely another contingency - it does not go to the price of the

     property, and therefore does not constitute a “material” difference.       See Northwest

     Television Club, Inc. v. Gross Seattle, Znc., 634 P.2d 837 (Wash. 1981) (citing cases in

     which material variations were found based on differences in the    aof the property).
     The case law is clear that price is the most important factor and it is undisputed that the

     Wal-Mart Agreement and the Weisser Agreement contain the same price.




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                                      Environmental Contingencies

            Third, Weisser points to provisions in the Wal-Mart Agreement which provide

     that CP Hazard is to make representations about, and is obligated to remediate any costs

     associated with, the environmental conditions of the property. (Amended Complaint, 7

     17.C; Weisser Memorandum in Support of Motion for Summary Judgment, p.4.)

     Weisser argues that his purchase agreement contains no such terms. Again, Weisser’s

     argument fails to tell the whole story. The fact of the matter is that Weisser’s Letter of

     Intent similarly contained an environmental contingency and gave him the opportunity to

     withdraw from the agreement if he was not satisfied with the environmental condition of

     the property during his “Review Period.” This will be discussed more thoroughly in

     Section B.

            Most importantly, to the extent that the Weisser Agreement is deemed not to

     include an environmental contingency, it is peculiar and lacking of a “bona fide” term. It

     must be noted that Weisser’s Standard Form of Agreement                 does   contain an

     environmental contingency provision. [See Exhibit H.] The omission of a standard

     provision such as this one cannot be used to defeat Wal-Mart’s exercise of its right of

     first refi~sal.~
                   See Brownies Creek,supra.

                                             Letter of Credit

            According to Weisser, the fourth “major difference” between the Wal-Mart and

     Weisser purchase agreements is the fact that the Wal-Mart Agreement provides that its

     $500,000 letter of credit is to be held in escrow, while the Weisser Agreement states that


      It would be unheard of for one to offer to purchase a 24 million dollar parcel of property
     without any environmental contingencies.



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     he is to deliver a $500,000 irrevocable letter of credit directly to CP Hazard. (Amended

     Complaint, 7 17.D.) This difference is not material. Whether a letter of credit is to be

     held by an escrow agent or by a seller is an insignificant term which has no effect on the

     purchase price of the property. See Northwest Television Club, supra. Therefore, this

     minor variation cannot be used to defeat Wal-Mart’s exercise of its right of first refusal.

     See, e.g., Vincent v. Doebert, 539 N.E.2d 856, 861-62 (Ill. App. 1989) (holding that a

     rightholder’s letter of credit and guarantee does not have to be identical to the third party

     offeror’s, so long as it meets the “security aspect” of the third party’s offer).

                Moreover, since Section 2.01 of Weisser’s Standard Form provides that the

     deposit is to be held in escrow [see Exhibit HI, it is apparent that Weisser considered this

     a standard and bona fide term. The omission of such a term from his agreement cannot

     be used to prevent Wal-Mart’s exercise of its right of first refusal. See Brownies Creek,

     supra.

              As set forth above, Wal-Mart properly exercised its right of first refusal by

     executing a purchase agreement with terms not materially different from the terms

     contained in the Weisser Agreement. Following such exercise, any rights that Weisser

     had under his agreement with CP Hazard were terminated.’

              In Urban Hotel Management Corp. v. Main & Washington Joint Venture, 494
     N.E.2d 334, 337 (Ind. App. 1986), the court held that “once [the lessee] properly

     exercised the right of first refusal, [the third party’s] rights to the property were

     completely cut off.” (Citation omitted). Likewise, in the present case, once Wal-Mart

     exercised its right of first refusal (pursuant to the method of exercise as set forth in the

      The Weisser Agreement concedes this point in Section 12.02.



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     Lease) by executing and delivering a purchase agreement to CP Hazard, Weisser lost any

     claim to the property. In other words, any rights that Weisser may have had under the

     purchase agreement were terminated upon Wal-Mart’s proper exercise of its right of first

     refusal.

           B.     Weisser’s Purchase Agreement Cannot Be Viewed In a Vacuum, But
     Must Be Examined in Conjunction With the Letter of Intent. When Weisser’s
     Agreement Is Viewed In Whole, Rather Than In Part, Any Difference Between the
     Weisser Agreement and the Wal-Mart Agreement Disappears.

            Before executing his purchase agreement, Weisser signed a Letter of Intent with

     CP Hazard. The Weisser Agreement must be viewed in conjunction with this Letter of

     Intent. See FS Investments, Inc. v. Asset Guaranty Ins. Co., 196 F. Supp. 2d 491 (E.D.

     Ky. 2002) (applying Kentucky law) (looking at both the letter of intent and the purchase

     agreement to determine the terms of the deal). The Letter of Intent addressed the very

     contingencies which Weisser is complaining about in the Wal-Mart Agreement, including

     an inspection period and environmental contingencies. In other words, when Weisser’s

     Letter of Intent is viewed in conjunction with his purchase agreement, it is clear that he

     had the same contingencies in his “deal” with CP Hazard that he now claims negates

     Wal-Mart’s exercise of the right of first refusal. Therefore, Weisser cannot argue that the

    terms in the Wal-Mart Agreement are materially different from his own agreement with

     CP Hazard, and he cannot defeat Wal-Mart’s proper exercise of its right of first refusal on

    this basis.

                                            Inspection Period

            Sections 3 and 5 of the Letter of Intent gave Weisser a “Review Period” and a

    nght to inspect the Property. Moreover, as stated previously, Section 4 of the Letter of

    Intent also required CP Hazard to provide Weisser with several documents [see Exhibit



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     B], which CP Hazard complied with by sending Weisser copies of a survey, title policy,

     standard form agreement, payment and performance bond, utility letter, zoning letter,

     Wal-Mart lease agreement, and an environmental report [see Exhibit C]. Weisser had the

     right to review all of these documents and pursuant to Section 3 of the Letter of Intent,

     could terminate his obligations under the agreement “with no further liability by written

     notice delivered on or before the expiration of the Review Period.” [See Exhibit B.] This

     is the same type of provision about which Weisser complains in the Wal-Mart

     Agreement.

            Weisser was therefore given the same right of inspection in the Letter of Intent

     that he complains was only provided for in the Wal-Mart Agreement. His argument that

     the Wal-Mart Agreement contains a material variation from his own is completely

     misplaced.

                                       Environmental Contingencies

            Weisser’s Letter of Intent also addresses environmental contingencies. Section

     2.B. of the Letter of Intent provides: “It is the express intent that Buyer , .. waive, during

     the Review Period, all contingencies to the purchase of the Property, assuming that the

     status of title, environmental, etc. not adversely change.. ..” (emphasis added). In other

     words, in his Letter of Intent, Weisser does       waive any environmental contingencies

     relating to the Property. If he was not satisfied with the environmental condition of the

     Property, he could walk away at any time during the Review Period. His argument that

     the Wal-Mart Agreement contains a “major difference” on this issue is not valid.

            Moreover, among the information that was provided by CP Hazard to Weisser

     pursuant to Section 4 of the Letter of Intent was a detailed Phase I Environmental Report.



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     [See Phase I Environmental Report attached hereto as Exhibit I.]               The Phase I

     Environmental Report was a detailed environmental site assessment prepared by %ME,

     Inc. in May, 2003. Since this report contains a thorough and recent review of the

     environmental condition of the Property, and reaches the conclusion that it is

     environmentally safe, it insulates the parties from any unexpected environmental

     contingencies.     This further negates any discrepancies between the environmental

     contingency provisions in the parties’ purchase agreements. In effect, the environmental

     report of S&ME makes environmental conditions on the Property a complete non-issue

     and Weisser’s argument otherwise is yet another attempt to get this Court to solely focus

     of specific provisions without examining the big picture and understanding all of the facts

     and circumstances surrounding this transaction. Pursuant to the Letter of Intent, Weisser

     had the opportunity to review the environmental report prior to committing to purchase

     the Property. He cannot now be heard to complain that Wal-Mart seeks the same

     opportunity.

            C.        The Weisser Agreement Is Not Enforceable.

            Section 2.00.A. of the Weisser Agreement provides: “On or before November 5 ,

     2003, a $500,000 Letter of Credit   ... shall be delivered to Seller....”   [See Exhibit D.]

     Weisser defaulted on this obligation under his own agreement by failing to timely

     provide CP Hazard with a letter of credit. A letter of credit was not delivered by Weisser

     to CP Hazard until November 25, 2003, twenty (20) days after the deadline for such

     delivery. Thereafter, Weisser was notified by a December 2, 2003 letter from the

     attorney for CP Hazard, John B. Waters 111, stating that since Weisser had failed to timely

     provide a letter of credit pursuant to his contract, Weisser’s Agreement with CP Hazard

     was “of no force and effect.” [See Exhibit G.] Thus, whether or not Wal-Mart properly


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     exercised its right of first refusal is in fact immaterial since the Weisser Agreement is

     unenforceable due to Weisser’s default thereunder. See FS Investments, Znc., supra, 196

     F. Supp. 2d at 498-99 (E.D. Ky. 2002) (holding that under Kentucky law the

     determination of whether time is “of the essence” in a given contract may be resolved on

     summary judgment, and that if it is found that time & of the essence and fulfillment is

     met within that time, the contract is void) (citations omitted).

             Two final points merit discussion. First, the seller of the Property, CP Hazard,

     has consistently taken the position that Wal-Mart properly exercised its right of first

     refusal. Specifically, in his deposition, Miles Cullom - the principal of CP Hazard -

     stated that he thought Wal-Mart had correctly exercised its right of first refusal. [Cullom

     Depo., p. 48.1 Cullom testified that he believes that price is “the most important thing” in

     exercising a right of first refusal, and stated that when he determined that the price in the

     Wal-Mart Agreement was the same as the price in the Weisser Agreement, he was

     satisfied. [Id.] Cullom stated that he believes Weisser is “making technicalities out of

     the differences in the contracts.” [Id. at 53.1

            Further, Robert Talbott, the real estate developer and broker who assisted Cullom

     in locating a buyer for the property, and who is also an attorney, also believes that Wal-

     Mart properly exercised its right of first refusal. [Robert Talbott Depo., pp. 36, 55.1 He

     reached this conclusion after examining both contracts. Based on his belief, he returned

     Weisser’s belated letter of credit back to him. [Id.]

            Second, in his memorandum, Weisser relies almost exclusively on the case of

    Jones v. white Sulphur Springs Farm, Znc., Ky. App., 605 S.W.2d 38 (1980), for his




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     argument that Wal-Mart failed to properly exercise its right of first refusal. Weisser’s

     reliance on the Jones case for such an argument is misplaced.

             In Jones, the court cited Brownies Creek, supra, for the principle that only

     material variations should be considered when determining whether a holder has properly

     exercised its right of first refusal:   605 S.W. 2d at 41. Applying this rule, the court held

     that variations in the terms of the rightholder’s offer as to relinquishment of the right to a

     lien and payments for damages were material.               These terms are not the mere

     contingencies which are at issue in the present case. Rather, as discussed previously, the

     variations about which Weisser complains are not material, and in some cases are not

     even “variations” when Weisser’s agreement is considered as a whole (i.e., in

     conjunction with his Letter of Intent). That Weisser can find no case law to support his

     argument that the particular “variations” he claims are material is telling.

             D.      Weisser Is Not Entitled To An Increased Interest Rate.

             In his memorandum, Weisser claims for the first time that he is entitled to “the

     difference between the now-increased interest rate compared with that [sic] he could have

     received at the time of the intended closing but for Wal-Mart’s invalid exercise of its

     option.” Weisser’s Amended Complaint did not include such a claim for relief, and

     Weisser has not presented any facts or set forth any arguments entitling him to such a

     recovery. Quite simply there is nothing in the parties’ contracts or the law which would

     allow him to recover such speculative damages for Wal-Mart exercising a legitimate right



       The Jones case also reinforces the Brownies Creek holding that a court should only
     consider material variations !?om “bona fide” terms and conditions in the third party’s
     offer. 605 S.W. 2d at 41.



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     of first refusal. This is particularly so given that Weisser was l l l y aware of Wal-Mart’s

     right of first refusal at the time he entered into his agreement.

     IV.    CONCLUSION

            For the foregoing reasons, Wal-Mart’s Motion for Summary Judgment must be

     granted, and Weisser’s Motion should be denied.


                                                    Respectfully submitted,




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                                CERTIFICATE OF SERVICE

            This is to certify that a true and correct copy of the foregoing has been served
     upon the following, by Facsimile and U.S. mail, on this the 30th day of June, 2004:


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